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                       IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE EASTERN DISTRICT OF TEXAS
                                        SHERMAN DIVISION


IN RE:                                             §
                                                   §
LAWRENCE JAY POPE                                  §       CASE NO. 10-40095-R
                                                   §       CHAPTER 7
DBA L.J. POPE                                      §
                                                   §       JUDGE BRENDA T. RHOADES

                                     NOTICE OF APPEARANCE


       TO THE DEBTOR(S), TRUSTEE, ALL CREDITORS AND ALL OTHER INTERESTED PARTIES:
       You are hereby given notice that NATIONAL BANKRUPTCY SERVICES.COM LLC has been engaged by the
creditor identified below to serve as its authorized agent in this matter.
       You are requested to serve a copy of each notice of any proceeding, hearing and/or report in this matter
including, but not limited to, notices required by Bankruptcy Rules 2002 and 3017(a) and the Local Rules of the
Bankrupcy Court upon the creditor at the following address:


                  Harley-Davidson Credit Corp.
                  P. O. Box 829009
                  Dallas, Texas 75382-9009


                                                   Respectfully submitted,
                                                   NATIONAL BANKRUPTCY SERVICES.COM LLC


                                                   /s/ Joe M. Lozano, Jr.

                                                   Joe M. Lozano, Jr.

                                                   F# 3901-N-6953
                                                   9441 LBJ Freeway, Suite 350
                                                   Dallas, Texas 75243
                                                   (972) 643-6600 / (972) 643-6698 (Telecopier)
                                                   E-mail Address: notice@bkcylaw.com
                                                   Authorized Agent for Harley-Davidson Credit Corp.
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                                              CERTIFICATE OF SERVICE

       I, Joe M. Lozano, Jr., hereby certify that a true and correct copy of the foregoing Request for Service
of Notice has been served upon the following parties in interest either via pre-paid regular U.S. Mail or via electronic
notification on or before January 28, 2010:


Debtors' Attorney
Judith A. Swift
Attorney At Law
10501 N. Central Expressway Suite 301
Dallas, TX 75231


Chapter 7 Trustee
Linda Payne
541 Banner Place, 12770 Coit Road
Dallas, Texas 75251


U.S. Trustee
William Neary
300 Plaza Tower / 110 North College
Tyler, Texas 75702




                                                           /s/ Joe M. Lozano, Jr.

                                                           Joe M. Lozano, Jr.




3901-N-6953
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